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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN

and

WANDREA MOSS,                         Civil Action No. 21-cv-3354 (BAH)

                 Plaintiffs,
                                      Judge Beryl A. Howell
      v.

RUDOLPH W. GIULIANI,

                 Defendant.


PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER PERMITTING PLAINTIFFS TO
       SERVE A RULE 45 SUBPOENA ON THIRD-PARTY JENNA ELLIS
 VIA ALTERNATIVE SERVICE AND AMENDING THE SCHEDULING ORDER TO
 PERMIT PLAINTIFFS TO TAKE THREE DEPOSITIONS AFTER THE CLOSE OF
                          FACT DISCOVERY
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       Plaintiffs Ruby Freeman and Wandrea’ ArShaye (“Shaye”) Moss (“Plaintiffs”)

respectfully move this Court for permission to serve third-party Jenna Ellis with a Federal Rule of

Civil Procedure (“Rule” or “Rules”) 45 subpoena via alternative methods and to amend the August

31, 2022 Scheduling Order (the “Scheduling Order”) to permit Plaintiffs to conduct three

depositions, and to seek any related relief required, after fact discovery closes on May 22, 2023.1

                                        INTRODUCTION

       Plaintiffs have been diligent about pursuing discovery over the past year, which has been

challenging in the face of a Defendant and many third parties who refuse to cooperate in virtually

any aspect of discovery. Plaintiffs have sought the assistance of the Court only as a last resort,

including to compel Defendant Rudolph Giuliani to inter alia amend his initial disclosures and to

produce materials from all potential sources of information, including from the two businesses he

founded and owns (Giuliani Partners LLC and Giuliani Communications LLC) (together, the

“Giuliani Businesses”). Defendant Giuliani has made a number of decisions in the course of that

discovery dispute that necessitate this Motion.

       First, Defendant Giuliani amended his initial disclosures on March 24, 2023 to add a

number of individuals whom he admits are likely to possess relevant information on which he

plans to rely, including third-party Jenna Ellis. Defendant Giuliani identified Ms. Ellis in his

updated disclosures as being “involved with providing Giuliani with information and discussing

with Giuliani allegations regarding Plaintiffs that Giuliani relied on” when making statements

about Plaintiffs, in his deposition testimony Defendant Giuliani highlighted Ms. Ellis as his

“assistant” who had knowledge of an alleged USB drive video, and discovery has illustrated her



1
 Pursuant to Local Civil Rule 7(m), before Plaintiffs filed this Motion, counsel for Plaintiffs
notified counsel for Defendant of Plaintiffs’ intention to file this Motion. Defendant indicated that
he would not oppose the Motion.

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critical involvement in the defamatory allegations at the heart of Plaintiffs’ claims. Following

Defendant Giuliani’s deposition on March 1, 2023, Plaintiffs promptly reached out to the attorneys

whom Plaintiffs had previously been conferring with for purposes of a Rule 45 document subpoena

on Ms. Ellis (“Kleinbard Counsel”) to request a meet and confer to discuss potential deposition

testimony. While the meet and confer on March 29, 2023 was seemingly productive, Kleinbard

Counsel then failed to respond for nearly three weeks, prompting Plaintiffs to prepare a deposition

and document subpoena for Ms. Ellis (the “Ellis Subpoena”)2 which was served on Kleinbard

Counsel on April 19, 2023. On April 21, 2023, Kleinbard Counsel refused to accept service of the

Ellis Subpoena and on April 28, 2023—after more than a month of negotiations about the

deposition subpoena and more than nine months after beginning to confer on the earlier subpoena

(to which Ms. Ellis never produced documents)—Kleinbard Counsel represented, for the first time,

that they no longer represented Ms. Ellis. In the weeks since, Plaintiffs have attempted personal

service on Ms. Ellis. Plaintiffs have made various attempts at her last known address in Colorado

until learning that Ms. Ellis had recently moved to Florida with no discernable address. Plaintiffs

requested the assistance of Kleinbard Counsel and counsel for Defendant Giuliani in contacting

Ms. Ellis and/or her new counsel, or to reach an agreement that would obviate the need to secure

Ms. Ellis’ testimony. To date, Plaintiffs efforts have been rebuked. Plaintiffs have incurred

significant time and expense, including hiring a private investigator in an attempt to locate

Ms. Ellis’ new Florida address, and still have been unable to locate and serve Ms. Ellis. Defendant

plans to rely on Ms. Ellis in his defense at trial and Plaintiffs would be severely prejudiced if they

were unable to depose Ms. Ellis.



2
  The Ellis Subpoena, attached at Exhibit 1, is the undated version that Plaintiffs request leave to
serve by alterative means but is substantively identical to the subpoena Plaintiffs have attempted
to serve on Ms. Ellis previously.

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        Second, Defendant Giuliani has made clear that he will not attempt to access or search

materials contained in the emails or accounts of the Giuliani Businesses, and is refusing to provide

any information related to the same—for example, on May 8, 2023, Mr. Giuliani changed his

interrogatory response in which he said he would “attempt” to collect data on the metrics of his

statements on social media (including the accounts operated by the Giuliani Businesses) to state

that he “has attempted to locate this data, but it is beyond his level of expertise and he is unaware

of how to obtain this information.” Additionally, in his Opposition to Plaintiffs’ Motion to

Compel, Defendant claims that does not have access to any “@giulianipartners.com” email

addresses and is not able to access other documents or files via his personal devices or the Cloud.

Once it became apparent that Defendant Giuliani would not produce all documents in his

possession, custody, or control by virtue of his ownership of the Giuliani Businesses, Plaintiffs

served two Rule 30(b)(6) subpoenas on the two entities for both documents and testimony (dated

next week).3 Defendant Giuliani’s counsel has indicated that he does not represent the Giuliani

Businesses and therefore cannot address Plaintiffs’ request that the Giuliani Businesses designate

a single deponent for a single deposition (as opposed to requiring two separate depositions). To

date, no other counsel has contacted Plaintiffs’ counsel to designate the corporate entity or to

“confer in good faith about the matters for examination” as the Rules require. Additionally,

Plaintiffs believe it would be in the best interest of the parties, and the Giuliani Businesses, to hold

the depositions after the Court decides the fully briefed and pending Motion to Compel.

        Given the above-discussed circumstances and the close of discovery in less than two

weeks, Plaintiffs respectfully and reluctantly move the Court to (1) permit Plaintiffs to serve Ms.



3
 On the date of this filing, Plaintiffs received a subpoena return from Giuliani Communications
LLC. Plaintiffs have not had the opportunity to analyze the basis for this return or whether they
will need to re-serve this subpoena.

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Ellis via alternative means, including those laid out herein; and (2) amend the Scheduling Order

to take the depositions of Ms. Ellis, Giuliani Partners LLC, and Giuliani Communications LLC

after the close of fact discovery and to seek any related relief required.

                                         BACKGROUND

       A.      Under The Scheduling Order, Discovery Closes On May 22, 2023.

       On August 31, 2022, the Court granted the parties’ Joint Motion to Extend Discovery by

Amending the Scheduling Order (the “August 31, Scheduling Order”). Per the August 31

Scheduling Order: “By May 22, 2023, all fact discovery shall close (including answers to

interrogatories, document production, requests for admission, and depositions.)” August 31,

Scheduling Order.4

       B.      Plaintiffs Have Exhausted Efforts To Serve Ms. Ellis.

               1.      Plaintiffs have spent months conferring with counsel for Ms. Ellis.

       Despite Defendant Giuliani choosing not to list Ms. Ellis in his initial disclosures last year,

Plaintiffs identified Ms. Ellis as a third-party witness who might possess highly relevant

information and reached out to Kleinbard Counsel, who had previously represented Ms. Ellis. (Ex.

6 at 9, email chain with Kleinbard.) Kleinbard Counsel confirmed in writing on August 16, 2022

that “[w]e’ll represent Ms Ellis for this.” (Id. at 7.) Based on this representation, Plaintiffs spent

months working diligently with Kleinbard Counsel to negotiate the scope of a document subpoena.

(Id. at 14.) Kleinbard Counsel represented that Ms. Ellis had little, if any, involvement in the

allegations of the Complaint, which, coupled with Defendant Giuliani’s decision not to list her in




4
  This is the second such motion requesting a modification of the Scheduling Order, it is being
filed at least four days prior to any current deadlines in the Scheduling Order, one previous
modification of the Scheduling Order has been sought and granted, and there is good cause to
support the requested modifications of the Scheduling Order.

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his disclosures prompted Plaintiffs to hold in abeyance the document subpoena pending

Defendant’s deposition.

       At his March 1, 2023 deposition, Defendant Giuliani offered limited testimony about

Ms. Ellis, but confirmed that she would be able to identify the video that served as the basis for

his claims that Plaintiffs passed a USB drive. (Ex. 4, Giuliani Deposition Tr. at 193:22-195:23.)

One week later, on March 8, the Supreme Court of the State of Colorado approved a stipulation to

discipline Ms. Ellis regarding her actions during the 2020 presidential election, which provides

that   Ms.   Ellis   served   as   a   member     of   then-President   Trump’s     legal   team   in

“efforts to challenge President Biden’s victory in the 2020 Presidential Election” and made various

“misrepresentations” that violated Colorado ethical rules. (Ex. 5 at 1-2, Opinion on Stipulation.)

       In light of these new facts, Plaintiffs re-engaged Kleinbard Counsel in negotiations on

March 14, 2023 regarding the document subpoena and a potential deposition. (Ex. 7 at 11-12,

Additional Email Chain with Kleinbard.) Plaintiffs explained that they were revisiting Ms. Ellis

following Defendant’s deposition in which he identified Ms. Ellis as a source of information

regarding a key defamatory claim and the Stipulation to Discipline. (Id.) Kleinbard Counsel

replied that they were “discussing” Plaintiffs’ outreach “with Ms. Ellis.” (Id. at 10.)

       On March 24, 2023, per the Court’s March 21, 2023 Minute Order, Defendant Giuliani

disclosed Ms. Ellis as a relevant witness for the first time in his First Amended Initial Disclosures,

describing her as being “involved with providing Giuliani with information and discussing with

Giuliani allegations regarding Plaintiffs.” (Ex. 2, First Amended Initial Disclosures at 3.) Counsel

for Plaintiffs and Kleinbard Counsel continued to negotiate by email until March 29, 2023, when

counsel for Plaintiffs met and conferred with Kleinbard LLC via telephone. (Ex. 7. at 5-6.) On

this meet and confer, counsel discussed how Plaintiffs could secure Ms. Ellis’ testimony in light




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of the new facts, including discussing limiting the scope of the deposition or conducting a

deposition by written question in an effort to limit the burden on Ms. Ellis. (Id.) At no time during

the conferral did Kleinbard LLC suggest that they no longer represented Ms. Ellis. On April 7,

Defendant served his Second Amended Initial Disclosures in which he revised his description of

Ms. Ellis to state that she was “involved with providing Giuliani with information and discussing

with Giuliani allegations regarding Plaintiffs that Giuliani relied on in” when making statements

about Plaintiffs. (Ex. 3, Second Amended Initial Disclosures at 3.)

               2.      Plaintiffs sought to depose Ms. Ellis after Defendant Giuliani amended his
                       initial disclosures, and have spent the last few weeks attempting to serve her
                       without success.

       The Ellis Subpoena seeks to obtain documents and testimony from Ms. Ellis that are

directly relevant to the case against Defendant and are narrowly tailored to limit any burden on

Ms. Ellis, including by seeking materials related to

           •   claims in the Giuliani Strategic Communications Plan about Plaintiffs and/or
               Georgia;

           •   a record or list of election fraud allegations concerning the 2020 Presidential
               Election in Georgia; and

           •   claims that Plaintiffs were caught on video passing a thumb drive(s), flash drive(s),
               or hard drive(s) between them on or around election day in November 2020.

These documents will shed light on Defendant Giuliani’s subjective knowledge of the falsity of

his claims; what, if any, steps he took to investigate his claims; whether Defendant Giuliani relied

on any sources and, if so, the reliability of those sources; and the extent to which Defendant

Giuliani continued to publish claims about Plaintiffs because of a preconceived narrative. These

are material facts that go to, among other things, whether Defendant Giuliani published his claims

about Plaintiffs with knowledge or reckless disregard of the falsity of those claims, i.e. with “actual

malice.” See, e.g., New York Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964) (actual malice



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standard); Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 692 (1989) (avoidance of

the truth); St. Amant v. Thompson, 390 U.S. 727, 732 (1968) (fabrication and unreliable sources);

Herbert v. Lando, 441 U.S. 153, 163–64 (1979) (improper motive).

       On April 19, 2023, after Kleinbard Counsel stopped responding to Plaintiffs, Plaintiffs

provided the Ellis Subpoena to Kleinbard Counsel via email requesting confirmation that they

would accept serve on Ms. Ellis’ behalf. (Ex. 7 at 4.) On April 21, Kleinbard Counsel refused to

accept service, but made no claim that they were no longer representing Ms. Ellis. (Ex. 7 at 3.)

Plaintiffs then began making attempts to serve Ms. Ellis personally. On April 28, almost two

months after counsel for Plaintiffs had re-initiated negotiations, Kleinbard Counsel emailed

Plaintiffs claiming for the first time that they no longer represented Ms. Ellis. (Ex. 7 at

1.) Kleinbard Counsel wrote: “I understand your position, but we represented Ms. Ellis for only a

limited matter in Pennsylvania that has since ended. She has counsel for the various open matters

throughout the country, and we aren’t actively representing her. I could not get assent to accept

service of any of your subpoenas, including the instant one. I’m sorry I’m not able to be of more

help.” (Id.) (emphasis added.) Plaintiffs requested, without response, that Kleinbard Counsel

provide the contact information for the attorneys now representing Ms. Ellis. (Id.)5

       Plaintiffs have made three service attempts on Ms. Ellis in Colorado, where Plaintiffs

understood Ms. Ellis lived based on her bar certification and publicly available information. (Ex.

8, Capitol Process Decl.) On at least one attempt, a woman was in the house when the process

server attempted service, but refused to come to the door. (Id.) On information and belief,

Plaintiffs now believe this address is Ms. Ellis’ mother’s house and that Ms. Ellis previously




5
 Plaintiffs provided Kleinbard Counsel with advanced notice that they planned to file this motion
and provided a courtesy copy of this filing via email on the date it was filed.

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resided there. (Ex. 10 at 1, Harlin Decl.; Ex. 12 at 1-2, Email Chain Between Target Research and

USPS.)

         On or around April 28, Plaintiffs became aware via Ms. Ellis’ Twitter account that

Ms. Ellis may have recently moved states to Florida, but could not locate her new address. (Ex.

9, April 23, 2023 Jenna Ellis Tweet.) Plaintiffs promptly engaged a private investigator to find

Ms. Ellis’ new address, but he has been unable to locate it. (Ex. 10 at 1-2.) Plaintiffs’ private

investigator reports that there is no change of address on record for Ms. Ellis from the Colorado

residence. (Ex. 13, Request For Change of Address or Boxholder Information Needed for Service

of Legal Process.) Plaintiffs do not have a known address for Ms. Ellis in Florida and cannot

predict how quickly they will be able to ascertain one. (Ex. 10 at 1-2.) Plaintiffs also asked

Defendant for his assistance in contacting Ms. Ellis and/or her new counsel. (Ex. 11, Email Chain

with Sibley.) To date, Defendant has not provided any assistance.

         C.     The Giuliani Businesses Possess Relevant Information Which Defendant
                Giuliani May Produce Following An Order On Plaintiffs’ Pending Motion To
                Compel.

         It is undisputed that the Giuliani Businesses possess information relevant to Plaintiffs’

claims. Discovery in this case, including from third parties, has indicated that Defendant Giuliani

and his agents used email addresses associated with Giuliani Partners LLC to communicate about

matters related to this action.    See ECF No. 56-1 at ¶ 3.         For example, the email alias

press@giulianipartners was used to communicate specifically about the topics relevant to this

litigation, including an affidavit publicly filed by Frances Watson (the Chief Investigator of the

Georgia Secretary of State’s Office) on December 6, 2020 that directly refuted many of Defendant

Giuliani’s future claims. Id.




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       Plaintiffs have sought responsive materials from the Giuliani Businesses directly from

Defendant Giuliani, who is in possession, custody, and control the Giuliani Businesses’ materials.6

See ECF Nos. 44, 56. Despite this, Defendant Giuliani is refusing to search for or produce any

additional responsive materials from the Giuliani Businesses. See ECF No. 51. In Plaintiffs’

Motion to Compel Defendant Giuliani, Plaintiffs request that the Court compel Defendant to

search for and produce documents from the Giuliani Businesses. See ECF Nos. 44, 56. This

motion is still pending before the Court.

       In the alternative, to ensure that Plaintiffs obtain these highly responsive materials,

Plaintiffs have also served document and 30(b)(6) deposition subpoenas on the Giuliani Businesses

directly. (Ex. 14, Giuliani Partners LLC Subpoena; Ex. 15, Giuliani Communications LLC

Subpoena.) The depositions of the Giuliani Businesses are noticed for May 17 and May 18. (Ex.

14; Ex. 15.)

       In the event that Defendant Giuliani is compelled by this Court to search for and produce

additional responsive materials from the Giuliani Businesses (and assuming this occurs after the

noticed deposition dates of May 17 and 18), Plaintiffs will likely need to seek leave to conduct

additional 30(b)(6) depositions of the Giuliani Businesses regarding these new materials. In the

interest of efficiency, for the parties, the Giuliani Businesses’ 30(b)(6) designees, and this Court,

Plaintiffs would prefer to only take a single deposition of the Giuliani Businesses’ 30(b)(6)

designees.




6
  Defendant Giuliani testified that he is the sole member of Giuliani Communications LLC and
that Giuliani Communications LLC owns Giuliani Partners LLC. See ECF No. 53-1 at Ex. 4.

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                                       LEGAL STANDARD

       Rule 45(b)(1) provides that service of a third-party subpoena “requires delivering a copy

to the named person.” Fed. R. Civ. P. 45(b)(1). “In recent years a growing number of cases have

departed from the view that personal service is required and alternatively have found service of a

subpoena under Rule 45 proper absent personal service.” 9A Charles A. Wright & Arthur R.

Miller, Fed. Prac. & Proc. Civ. § 2454 (3d ed.). Courts, including this Court in connection with

this action, have recognized that “alternative forms of service may be acceptable under Rule 45 in

some circumstances,” including “where the witness is aware of the lawsuit, knows that one of the

parties is interested in h[er] testimony, and is aware that there have been multiple attempts at

personal service, and where the proposed alternative service is reasonably designed to insure the

witness’ receipt of the subpoena.” ECF No. 34 at 12; December 20, 2022 Minute Order.

       Where alternative service is appropriate, courts, including this Court, have allowed service

of a subpoena by a variety of methods—including by serving the third-party’s counsel and/or

serving the third-party via email or certified mail—as long as there is reasonable assurance that

the individual will receive “fair and timely notice of its issues, contents, purpose and effect.” ECF

No. 34 at 12; see December 20, 2022 Minute Order.

       A court may modify a scheduling order for good cause. Fed. R. Civ. P. 16(b)(4); Chen v.

Fed. Bureau of Investigation, Case No. 22-MC-0074 (CRC), 2022 WL 17851618, at *2 (D.D.C.

Oct. 18, 2022) (granting motion to reopen deposition for limited purpose where good cause was

shown). In assessing whether “good cause” exists, courts in this Circuit consider “whether the

request is opposed; [] whether the non-moving party would be prejudiced; [] whether the moving

party was diligent in obtaining discovery within the guidelines established by the court; [] the

foreseeability of the need for additional discovery in light of the time allotted by the district court;

and [] the likelihood that discovery will lead to relevant evidence.” 2910 Ga. Ave. LLC v. District


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of Columbia, 312 F.R.D. 205, 208 (D.D.C. 2015) (quoting In re Rail Freight Fuel Surcharge

Antirust Litig., 281 F.R.D. 12, 14 (D.D.C. 2011)). The decision whether to modify a scheduling

order is ultimately “within the sound discretion of the trial court.” Barnes v. District of Columbia,

289 F.R.D. 1, 7 (D.D.C. 2012).

                                           ARGUMENT

I.     ALL OF THE FACTORS COURTS CONSIDER WARRANT PERMITTING
       PLAINTIFFS TO SERVE MS. ELLIS THROUGH ALTERNATIVE MEANS.

       The Court should permit Plaintiffs to serve Ms. Ellis by means other than in-person

delivery. As this Court has already recognized and Plaintiffs have already briefed, alternative

services is permitted under Rule 45. See ECF No. 34; December 20, 2022 Minute Order. As

shown below, all of the factors courts consider when determining if alternative service is warranted

are present here.

       A.      Ms. Ellis Is Aware That Plaintiffs Are Attempting Service.

       Ms. Ellis is surely aware of Plaintiffs’ lawsuit, their interest in her personal knowledge,

and at least some of Plaintiffs’ attempts to serve her. As an initial matter, Ms. Ellis has been added

to Defendant’s initial disclosures. It stands to reason that she is aware that Defendant has listed

her as a witness with information and that Plaintiffs would therefore seek that information.

Additionally, Plaintiffs have attempted to serve the Ellis Subpoena via Kleinbard Counsel who

stated that they were “discussing” Plaintiffs’ requests “with Ms. Ellis.” (Ex. 7 at 10.) See also In

re Shur, 184 B.R. 640, 644 (Bankr. E.D.N.Y. 1995) (noting that when counsel who represents a

third-party witness in an unrelated matter “disclaim[s] authority to accept the subpoena on [the

witness]’s behalf, counsel communicated to [the witness] the contents of that document”).

Plaintiffs’ servers have attempted service at an address where Ms. Ellis is believed to have recently

resided and where her mother currently resides. (Ex. 8; Ex. 10 at 1; Ex. 12 at 1–2.)



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       Moreover, Ms. Ellis is plainly aware that she has personal knowledge relevant to various

aspects of Defendant Giuliani’s broader scheme to undermine the 2020 election—conduct that is

intimately related to the issues in this case, as evidenced by her sitting for a deposition with the

Select Committee to Investigate the January 6th Attack on the United States Capitol. Ms. Ellis is

also lawyer and therefore familiar with the legal system and the mechanics of serving a witness.

       B.      Plaintiffs Have Made Reasonable, Diligent Efforts To Serve Ms. Ellis.

       As detailed above, Plaintiffs have made reasonable, diligent efforts to serve Ms. Ellis. See,

e.g., ECF No. 34 at 16. Plaintiffs have spent considerable time and money trying to serve Ms. Ellis

via Kleinbard Counsel, at her last known address, and with the assistance of Defendant. See supra.

       C.      The Proposed Method Of Alternative Service Is Reasonably Calculated To
               Ensure Receipt Of The Ellis Subpoena.

       Plaintiffs seek to serve Ms. Ellis by alternate means through any method preferred by this

Court, including as permitted by Rule 4 and District of Columbia law. See Fed. R. Civ. P. 4(e)(1);

Sanchez v. Yu Lin Corp., No. 21-CV-2119 (TSC), 2022 WL 4598653, at *3 (D.D.C. Sept. 30,

2022). Federal Rule of Civil Procedure 4(e)(1) allows service “following state law for serving a

summons in an action brought in courts of general jurisdiction in the state where the district court

is located or where service is made.”

       As this Court has already recognized in granting Plaintiffs’ Motion for Alternative Service

of Katherine Friess, ECF No. 34, District of Columbia law allows Plaintiffs to employ “alternative

methods of service” when “the court determines that, after diligent effort, a party has been unable

to accomplish service by a method” specifically prescribed by District of Columbia law. D.C. Supr.

Ct. R. Civ. P. 4(e)(3)(A). See ECF No. 34 at 17; December 20, 2022 Minute Order.

       Here, Plaintiffs propose six alternate means of service that will give actual notice of the

action to Ms. Ellis: by (1) emailing a copy of any order authorizing alternative service and the



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subpoena to Kleinbard Counsel7, (2) sending a copy of the order and confirmatory copy of the

subpoena to of the Colorado address Plaintiffs have attempted to serve Ms. Ellis at three times, (3)

emailing a copy of the order and confirmatory copy of the subpoena to the email addresses

Plaintiffs have for Ms. Ellis8, (4) sending a copy of the order and confirmatory copy of the

subpoena to Ms. Ellis via direct message to her Twitter account9, (5) sending a copy of the order

and confirmatory copy of the subpoena to Ms. Ellis via direct message to her Instagram account10,

and (6) sending a copy of the order and confirmatory copy of the subpoena to Ms. Ellis via direct

message to her Facebook account.11 These methods are similar to those previously approved by

courts in this District under Rule 45. See ECF No. 34; December 20, 2022 Minute Order.

II.    GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER TO ALLOW
       PLAINTIFFS PERMISSION TO CONDUCT THREE DEPOSITIONS AFTER
       CLOSE OF FACT DISCOVERY.

       Good cause exists to support the requested modifications to the Scheduling Order

permitting Plaintiffs to conduct the depositions of Ms. Ellis, Giuliani Communications LLC, and

Giuliani Partners LLC, and to request any related relief, after the close of discovery. See Fed. R.

Civ. P. 16(b)(4). As to Ms. Ellis, if the Court grants the instant motion and permits Plaintiffs to

serve Ms. Ellis by alternative means, Rule 45 requires Plaintiffs to provide Ms. Ellis with

“reasonable” time to comply with the Ellis Subpoena. While courts differ on what constitutes

reasonable time, this District’s local rules provide that “14 days shall constitute reasonable notice”

where the “deposition is to be taken at a place more than 50 miles from the District of Columbia.”

U.S. District Court for the District of Columbia LCvR 30.1. As such, even if this Motion were to



7
  mhaverstick@kleinbard.com; jvoss@kleinbard.com; svance@kleinbard.com
8
  jellis@donaldtrump.com; jenna.ellis.esq@gmail.com.
9
  @JennaEllisEsq.
10
   @JennaEllisEsq.
11
   @JennaEllisEsq45.

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be granted today and alternative service was effectuated tomorrow, Plaintiffs—in keeping in line

with the 14 day notice requirement given Ms. Ellis’ apparent residence in Florida—would be

unable to depose Ms. Ellis until at least May 24, 2023, two days after discovery is set to close in

this case.

        As to the Giuliani Businesses, it will be most efficient—for the parties, the witnesses, and

the Court—to permit Plaintiffs to conduct the 30(b)(6) depositions of the Giuliani Businesses after

the close of discovery. Rather than deposing the Giuliani Businesses’ 30(b)(6) designees once

before Defendant produces additional discovery and once after Defendant produces additional

discovery, the Court should permit leave for Plaintiffs to take the depositions after the Court has

ruled on Plaintiffs’ Motion to Compel, and, if Plaintiffs’ Motion to Compel is granted, after

Defendant produces the compelled materials.

                                         CONCLUSION

        For the reasons discussed, Plaintiffs respectfully request the Court issue an order approving

alternative service of the Ellis Subpoena on Jenna Ellis by any alternative means of service

preferred by this Court, including by (1) emailing a copy of any order authorizing alternative

service and the subpoena to Kleinbard Counsel, (2) sending a copy of the order and confirmatory

copy of the subpoena to of the Colorado address Plaintiffs have attempted to serve Ms. Ellis at

thee times, (3) emailing a copy of the order and confirmatory copy of the subpoena to the email

addresses Plaintiffs have for Ms. Ellis, (4) sending a copy of the order and confirmatory copy of

the subpoena to Ms. Ellis via direct message to her Twitter account, (5) sending a copy of the order

and confirmatory copy of the subpoena to Ms. Ellis via direct message to her Instagram account,

and (6) sending a copy of the order and confirmatory copy of the subpoena to Ms. Ellis via direct

message to her Facebook account. In addition Plaintiffs respectfully request the Court issue an




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order permitting Plaintiffs to take the deposition of Ms. Ellis, Giuliani Partners LLC, and Giuliani

Communications LLC, and any related relief, outside the fact discovery period.

DATED: May 9, 2023

 s/ John Langford
 UNITED TO PROTECT DEMOCRACY                            WILLKIE FARR & GALLAGHER LLP
 John Langford*                                         Michael J. Gottlieb (974960)
 Rachel Goodman*                                        Meryl C. Governski (1023549)
 82 Nassau Street, #601                                 J. Tyler Knoblett (1672514)
 New York, NY 10038                                     1875 K Street NW
 Tel: (202) 579-4582                                    Washington, DC 20006
 john.langford@protectdemocracy.org                     Tel: (202) 303-1000
 rachel.goodman@protectdemocracy.org                    Fax: (202) 303-2000
                                                        mgottlieb@willkie.com
 Christine Kwon*                                        mgovernski@willkie.com
 555 W. 5th St.
 Los Angeles, CA 90013                                  WILLKIE FARR & GALLAGHER LLP
 Tel: (919) 619-9819                                    M. Annie Houghton-Larsen*
 Christine.kwon@protectdemocracy.org                    787 7th Avenue
                                                        New York, New York
 Sara Chimene-Weiss*                                    Tel: (212) 728-8164
 15 Main St., Suite 312                                 Fax: (212) 728-9164
 Watertown, MA 02472                                    mhoughton-larsen@willkie.com
 Tel: (202) 579-4582
 brittany.williams@protectdemocracy.org
 sara.chimene-weiss@protectdemocracy.org

 DUBOSE MILLER LLC
 Von A. DuBose*
 75 14th Street NE
 Suite 2110
 Atlanta, GA 30309
 Tel: (404) 720-8111
 dubose@dubosemiller.com

 *Admitted pro hac vice


 Attorneys for Plaintiffs Ruby Freeman and Wandrea’ Moss




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2023, this document was filed with the Clerk of the Court

of the U.S. District Court of the District of Columbia by using the CM/ECF system, which will

automatically generate and serve notices of this filing to all counsel of record. I hereby certify that

on May 9, 2023, a courtesy copy of the foregoing document was emailed to Jenna Ellis’ former

Kleinbard Counsel at mhaverstick@kleinbard.com.



Dated: May 9, 2023



                                                       s/ John Langford
                                                       UNITED TO PROTECT DEMOCRACY
                                                       John Langford*
                                                       82 Nassau Street, #601
                                                       New York, NY 10038
                                                       Tel: (202) 579-4582


                                                       *Admitted pro hac vice




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